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                                                                           August 8, 2023


   VIA ECF

   Catherine O’Hagan Wolfe
   Clerk of Court
   United States Court of Appeals for the Second Circuit
   Thurgood Marshall United States Courthouse
   40 Foley Square
   New York, New York 10007

                          Re:    Carroll v. Trump, No. 23-1045

   Dear Ms. Wolfe:

           We write on behalf of Plaintiff-Appellee E. Jean Carroll in response to the
   Acknowledgement and Notice of Appearance that Defendant-Appellant Donald J. Trump filed last
   week in the above-referenced appeal (“Carroll I appeal”). See Doc. No. 12. That form required
   Trump to identify “[m]atters related to this appeal or involving the same issue [that] have been or
   presently are before this Court.” In responding to that question, Trump identified the pending
   appeal in Carroll v. Trump, No. 23-793 (“Carroll II appeal”), as related to the appeal in Carroll I.
   But this response was mistaken: the Carroll I and Carroll II appeals arise from separate actions in
   very different procedural postures and present fundamentally distinct legal and factual issues.

           In Carroll I, Carroll alleges a defamation claim against Trump based on statements that he
   made in June 2019 (while serving as President) after she revealed that he had sexually assaulted
   her decades earlier. Although Carroll I was filed in October 2019, it has not yet gone to trial. For
   several years, the parties principally litigated Trump’s claim of immunity under the Westfall Act—
   including through an appeal to this Court, which was certified to the D.C. Court of Appeals and
   then remanded to the district court. See Carroll v. Trump, 66 F.4th 91 (2d Cir. 2023). After the
   Westfall Act issue was resolved, Trump filed a summary judgment motion asserting (among other
   things) the defense of absolute presidential immunity. The district court denied that motion,
   holding that Trump had waived absolute immunity and that, in all events, his arguments lacked
   merit. See Carroll v. Trump, No. 20 Civ. 7311, 2023 WL 4393067 (S.D.N.Y. July 5, 2023). Under
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    settled rules of appellate jurisdiction, Trump’s pending interlocutory appeal in Carroll I solely
    concerns the district court’s rejection of his absolute presidential immunity defense. 1

             Carroll II arises in a profoundly different posture. There, Carroll alleges a battery claim
    against Trump for sexual assault, as well as a defamation claim against Trump for statements that
    he made in 2022. Carroll II went to trial in April 2023. Following two weeks of trial proceedings,
    the jury found Trump liable on both claims. Trump’s appeal in Carroll II presents a laundry-list
    of trial-related issues, many of which are evidentiary in nature and will require a thorough review
    of the trial record. See Doc. Nos. 24-4, 61-6. There is no question of presidential immunity (or any
    other question of executive privilege or immunity) in the pending Carroll II appeal.

            Accordingly, the Carroll I appeal asks this Court to review a pre-trial ruling on an assertion
    of absolute presidential immunity, whereas Carroll II asks this Court to review a hodge-podge of
    evidentiary challenges in a post-trial posture. The Carroll I appeal involves no disputes of fact, but
    rather pure disputes of procedure and constitutional law; the Carroll II appeal decisively turns on
    disputes about a two-week jury trial record. Although there is overlap between the parties and
    underlying facts—and although both cases depend ultimately on the parties’ dispute over whether
    Trump sexually assaulted Carroll—the appellate issues before this Court could hardly be more
    different. As a result, there are no real efficiencies to be gained by consolidating the appeals.

            Moreover, the district court has repeatedly found in Carroll I that Trump’s litigation tactics
    reflected bad faith, dilatory conduct designed to obstruct the progress of the litigation. See, e.g.,
    Carroll, 2023 WL 4393067, at *12 & n.61. We are therefore concerned that Trump is improperly
    seeking to mark the Carroll I and Carroll II appeals as related in hopes of delaying both appeals—
    thereby frustrating Carroll’s pursuit of justice, which is particularly prejudicial because Carroll is
    80 years old (and because Trump may hope to impede or thwart her recovery of the $5 million
    judgment he has been forced to deposit pending a resolution of the Carroll II appeal).

             Therefore, we respectfully request that the Court decline to mark these appeals as related.


                                                                                       Respectfully submitted,



                                                                                       Roberta A. Kaplan

    cc:      Joshua Matz
             Counsel of Record



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      In Carroll I, Trump included certain issues unrelated to absolute immunity in his “Issues and Standard of Review”
    list attached to his Form C. Doc. No. 9. But the Court lacks interlocutory appellate jurisdiction over those “independent
    issues,” the resolution of which would require “an inquiry that is distinct from and ‘broader’ than the inquiry required
    to resolve” Trump’s absolute immunity claim. Myers v. Hertz Corp., 624 F.3d 537, 553–54 (2d Cir. 2010); see, e.g.,
    Atlantica Holdings v. Sovereign Wealth Fund Samruk-Kazyna JSC, 813 F.3d 98, 117 (2d Cir. 2016); Massi v. Flynn,
    254 F. App’x 84, 87 (2d Cir. 2007). Therefore, those ancillary issues are irrelevant to the relatedness inquiry.
